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Dm Seeking REITEF From the Court

 

 

 
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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Boston Area Office

John F. Kennedy Federal Building
Government Center, Room 475
Boston, MA 02203-0506

Toll Free Number: (866) 408-8075
Boston Direct Dial: (617) 565-4805

 

Intemet: www,ccos 2O¥ : Boston Direct Line: (617) 565-3200
Email: info@ecoc.zov TTY: (617) 565-3204

FAX: (617) 565-3196

Jeffrey A. Damon
352 Jefferson Street
Simpson, PA 18407

APR 11 2019

Re: Damon v. Camsan, Inc.
EEOC Charge No. 523-2019-00051

Dear Mr. Damon:

The Equal Employment Opportunity Commission (hereinafter referred to as the "Commission") has
reviewed the above-referenced charge according to our charge prioritization procedures. These
procedures, which are based on a reallocation of the Commission's staff resources, apply to all open
charges in our inventory and call for us to focus our limited resources on those cases that are most likely
to result in findings of violations of the laws we enforce.

In accordance with these procedures, we have examined your charge based upon the information and

evidence you submitted. You allege you were subjected to employment discrimination because of your

religion, national origin, age and genetic information in violation of Title VII of the Civil Rights Act of

1964, as amended, the Age Discrimination in Employment Act of 1967, as amended and the Genetic

Information Nondiscrimination Act of 2008, as amended.

Based upon this analysis the Commission is unable to conclude’ that the ‘information-establishes-a -
violation of Federal taw on the part of Respondent. This does not certify that Respondent is in compliance

with the statutes. No finding is made as to any other issue that might be construed as having been raised

by this charge.

The Commission’s processing of this charge has been concluded. Included with this letter is your Notice
of Dismissal and Right to Sue. Following this dismissal, you may only pursue this matter by filing suit
against the Respondent named in the charge within 90 days of receipt of said notice. Otherwise, your right
to sue will be lost.

If you have any questions, please contact Anthony M. Pino, Jr., Enforcement Supervisor, at 1-617-565-
3192, Monday to Friday, during normal business hours. ,

For

 

Director
Boston Area Office

 
 

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EEOC Form 161 (11/18) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

To: Jeffrey A. Damon . From: Boston Area Office
352 Jefferson Street John F. Kennedy Fed Bidg
Simpson, PA 18407 Government Ctr, Room 475

Boston, MA 02203

 

[| On behalf of person(s) aggrieved whose identily is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative ‘ Telephone No.

Jinny L. Miranda,
523-2019-00051 Investigator (617) 565-3188

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

Your charge was not timely filed with EEOC; in other words, you wailed too long after the date(s) of the alleged

[| The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
discrimination to file your charge

The EECC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

T } The EEOC has adopted the findings of the state or locat fair employment practices agency that investigated this charge.

Other (briefly state)

ce ee ees eee - NOTICE _OF_SUIT. RIGHTS_-

(See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent{s} under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be

lost. (The time limit for filing suit based on a claim under state jaw may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years {3 years}

before you file suit may not be collectible.
. missia
APR 11 2019

On behalf of the |

     

 

    

Enclosures(s) (Date Mailed)

Feng K. An,
Area Office Director

cc:

CAMSAN, INC
15 Halloween Blvd.
Stamford, CT 06902

 

 
 

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